     Case 2:23-cr-20191-MSN Document 495 Filed 08/22/24 Page 1 of 1                     PageID 7211




                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TENNESSEE
                                         Western Division
                                        Office of the Clerk
Wendy R. Oliver, Clerk                                                                  Deputy-in-Charge
242 Federal Building                                                          U. S. Courthouse, Room 262
167 N. Main Street                                                            111 South Highland Avenue
Memphis, Tennessee 38103                                                        Jackson, Tennessee 38301
(901) 495-1200                                                                             (713) 421-9200



                                    NOTICE OF SETTING
                     Before Judge Mark S. Norris, United States District Judge


                                              August 22, 2024


              RE:    2:23cr20191-01-MSN
                     USA v. EMMITT MARTIN, III

              Dear Sir/Madam:

            A CHANGE OF PLEA HEARING has been SET before Judge Mark S. Norris on
     FRIDAY, AUGUST 23, 2024 at 2:00 P.M. in Courtroom No. 4, 9th floor of the Federal
     Building, Memphis, Tennessee.

            Please submit the proposed plea agreement, a summary of the elements of the offense(s)
     charges and the statutory penalties to chambers at least one (1) day in advance of the change of
     plea hearing by emailing it to: ECF_Judge_Norris@tnwd.uscourts.gov.

             As to defendants on bond, failure to appear without leave of court will result in a
     forfeiture of appearance bond and issuance of a warrant for arrest.

           THE DEFENSE COUNSEL SHALL PERSONALLY CONTACT THE DEFENDANT
     TO INSURE HIS/HER ATTENDANCE AT THE DESIGNATED TIME.

              If you have any questions, please contact the case manager at the number provided
     below.

                                           Sincerely,
                                           WENDY R. OLIVER, CLERK
                                           BY: s/Joseph P. Warren,
                                                  Case Manager Supervisor
                                                  901-495-1242
                                                  joseph_warren@tnwd.uscourts.gov
